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13
                           UNITED STATES DISTRICT COURT
14
                          EASTERN DISTRICT OF CALIFORNIA
15
                                 SACRAMENTO DIVISION
16

17
     X CORP.,                              No. 2:23-cv-01939-WBS-AC
18
                    Plaintiff,
19                                         NOTICE OF MOTION AND MOTION FOR
           v.                              PRELIMINARY INJUNCTION
20
     ROBERT A. BONTA, Attorney             EXTENDED ORAL ARGUMENT REQUESTED
21   General of California, in his
     official capacity,                    Date: November 13, 2023
22                                         Time: 1:30 p.m.
                    Defendant.             Crtrm: 5
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28
     Notice of Motion and Motion For      1
     Preliminary Injunction
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 1                        NOTICE OF MOTION AND MOTION TO
                      THE HONORABLE COURT AND TO ALL PARTIES
 2

 3              PLEASE TAKE NOTICE that, upon the accompanying Memorandum
 4   of Points and Authorities, the Affidavit of Wifredo Fernandez and
 5   the exhibits annexed thereto, the Affidavit of Trust and Safety
 6   Team Affiant and the exhibits annexed thereto, the Affidavit of
 7   Joel Kurtzberg and the exhibits annexed thereto, and the Affidavit
 8   of Ben Elron In Support of X Corp.’s Request to Redact or File
 9   Under   Seal   the   Trust    and   Safety     Team   Affiant’s   Identity,     on
10   November   13,   2023,   at    1:30pm,       Plaintiff   hereby   moves   for    a
11   preliminary injunction halting enforcement of California Assembly
12   Bill No. 587 (“AB 587”), which is codified in law at Cal. Bus. &
13   Prof. Code §§ 22675–22681, on constitutional and other grounds.                 As
14   explained in detail in the accompanying memorandum, AB 587 violates
15   the First Amendment to the United States Constitution and Article
16   I, Section 2, of the California Constitution because it compels
17   social media companies like X Corp. to engage in speech against
18   their will, impermissibly interferes with the constitutionally-
19   protected editorial judgments of companies such as X Corp., has
20   both the purpose and likely effect of pressuring companies such as
21   X Corp. to remove, demonetize, or deprioritize constitutionally-
22   protected speech that the State deems undesirable or harmful, does
23   not support a compelling, substantial, or important government
24   interest, and places an unjustified and undue burden on social
25   media companies such as X Corp.          AB 587 also directly contravenes,
26   and is preempted by, 47 U.S.C. § 230(c)(2) because it imposes civil
27   liability on social media companies such as X Corp. if they take
28
     Notice of Motion and Motion For          2
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     Case 2:23-cv-01939-WBS-AC Document 18 Filed 10/06/23 Page 3 of 3


 1   actions (i) in good faith to restrict access to content, as

 2   described in § 230(c)(2), without making the disclosures required

 3   by AB 587, or (ii) that, in AG Bonta’s view, are contrary to X

 4   Corp.’s promulgated content-moderation policies.

 5        The abrogation of Plaintiff’s First Amendment rights for any

 6   time period constitutes per se irreparable harm, and where, as

 7   here, Plaintiff has not only asserted a colorable First Amendment

 8   claim, but one that is likely to succeed on the merits, the balance

 9   of equities tips in its favor and an injunction is in the public
10   interest.     Accordingly, this Court should preliminarily enjoin

11   Defendant from enforcing AB 587.

12

13        DATED: October 6, 2023       /s/ Joel Kurtzberg

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     Notice of Motion and Motion For      3
     Preliminary Injunction
